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                                                                         ELECTRONICALLY FILED
UNITED STATES DISTRICT COURT
                                                                         DOC #: _________________
SOUTHERN DISTRICT OF NEW YORK
                                                                         DATE FILED: 6/21/2023
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RICARDO VELASQUEZ,                                                :
                                                                  :
                                                  Plaintiff,      :           1:23-cv-303-GHW
                                                                  :
                              -v -                                :                ORDER
                                                                  :
SOOOH NYC INC., et al.,                                           :
                                                                  :
                                               Defendants. :
                                                                  :
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GREGORY H. WOODS, United States District Judge:

         On June 20, 2023, the parties informed the Court that this case has settled. Accordingly, it is

hereby ORDERED that this action be conditionally discontinued without prejudice and without

costs; provided, however, that within thirty (30) days of the date of this Order, the parties may

submit to the Court their own Stipulation of Settlement and Dismissal.1 Otherwise, within such

time Plaintiff may apply by letter for restoration of the action to the active calendar of this Court in

the event that the settlement is not consummated. Upon such application for reinstatement, the

parties shall continue to be subject to the Court’s jurisdiction, the Court shall promptly reinstate the

action to its active docket, and the parties shall be directed to appear before the Court, without the

necessity of additional process, on a date within ten (10) days of the application, to schedule

remaining pretrial proceedings and/or dispositive motions, as appropriate. This Order shall be

deemed a final discontinuance of the action with prejudice in the event that Plaintiff has not

requested restoration of the case to the active calendar within such 30-day period.

         The Clerk of Court is further directed to terminate all pending motions, adjourn all


1
  As explained in Rule 4(E) of the Court’s Individual Rules of Practice in Civil Cases, the Court will not retain
jurisdiction to enforce confidential settlement agreements. If the parties wish that the Court retain
jurisdiction to enforce the agreement, the parties must place the terms of their settlement agreement on the
public record.
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remaining dates, and to close this case.

        SO ORDERED.

Dated: June 21, 2023
       New York, New York                            ___
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                                                      GREGO GORY
                                                            GO
                                                      GREGORY   Y H. WOODS
                                                     United States District Judge
                                                                            Judg




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